JS 44-TXND (Rev. 12/12)                           CIVIL
                         Case 3:15-cv-02222-B Document 1-1COVER    SHEETPage 1 of 1 PageID 15
                                                           Filed 07/03/15
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
Larry W. Panayi                                                                                             Six Flags Over Texas, Inc.

    (b) County of Residence of First Listed Plaintiff            Tarrant                                       County of Residence of First Listed Defendant                Tarrant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)

James A. McCorquodale, A M Lawyers, 4015 Main Street, Suite 200,
Dalas, TX 7526-1231. Tel. 214-712-4472.

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                            and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1           ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                             of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2        ’    2   Incorporated and Principal Place     ’ 5      ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3        ’    3   Foreign Nation                       ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                    FORFEITURE/PENALTY                           BANKRUPTCY                     OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             ’ 625 Drug Related Seizure             ’ 422 Appeal 28 USC 158            ’   375 False Claims Act
’   120 Marine                       ’   310 Airplane                  ’ 365 Personal Injury -             of Property 21 USC 881           ’ 423 Withdrawal                   ’   400 State Reapportionment
’   130 Miller Act                   ’   315 Airplane Product                Product Liability       ’ 690 Other                                  28 USC 157                   ’   410 Antitrust
’   140 Negotiable Instrument                 Liability                ’ 367 Health Care/                                                                                      ’   430 Banks and Banking
’   150 Recovery of Overpayment      ’   320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                  ’   450 Commerce
        & Enforcement of Judgment             Slander                        Personal Injury                                                ’ 820 Copyrights                   ’   460 Deportation
’   151 Medicare Act                 ’   330 Federal Employers’              Product Liability                                              ’ 830 Patent                       ’   470 Racketeer Influenced and
’   152 Recovery of Defaulted                 Liability                ’ 368 Asbestos Personal                                              ’ 840 Trademark                            Corrupt Organizations
        Student Loans                ’   340 Marine                          Injury Product                                                                                    ’   480 Consumer Credit
        (Excludes Veterans)          ’   345 Marine Product                  Liability                             LABOR                        SOCIAL SECURITY                ’   490 Cable/Sat TV
’   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY            ’   710 Fair Labor Standards           ’   861 HIA (1395ff)               ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’   350 Motor Vehicle             ’ 370 Other Fraud                      Act                           ’   862 Black Lung (923)                   Exchange
’   160 Stockholders’ Suits          ’   355 Motor Vehicle             ’ 371 Truth in Lending        ’   720 Labor/Management               ’   863 DIWC/DIWW (405(g))         ’   890 Other Statutory Actions
’   190 Other Contract                       Product Liability         ’ 380 Other Personal                   Relations                     ’   864 SSID Title XVI             ’   891 Agricultural Acts
’   195 Contract Product Liability   ’   360 Other Personal                  Property Damage         ’   740 Railway Labor Act              ’   865 RSI (405(g))               ’   893 Environmental Matters
’   196 Franchise                            Injury                    ’ 385 Property Damage         ’   751 Family and Medical                                                ’   895 Freedom of Information
                                     ’   362 Personal Injury -               Product Liability                Leave Act                                                                Act
                                             Medical Malpractice                                     ’   790 Other Labor Litigation                                            ’   896 Arbitration
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’   791 Employee Retirement              FEDERAL TAX SUITS                ’   899 Administrative Procedure
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:                       Income Security Act            ’ 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                                                         or Defendant)                       Agency Decision
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                               ’ 871 IRS—Third Party              ’   950 Constitutionality of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                               26 USC 7609                         State Statutes
’   245 Tort Product Liability               Accommodations           ’ 530 General
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from               ’ 6 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District                   Litigation
                                                                                                                                (specify)
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          Title III of the Americans with Disabilities Act, 42 USC § 12181 et seq.
VI. CAUSE OF ACTION Brief description of cause:
                                          Disability discrimination; refusal of admission to amusement rides based on missing leg
VII. REQUESTED IN   ’ CHECK IF THIS IS A CLASS ACTION           DEMAND $                   CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                 Injunction and damages    JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED PENDING OR CLOSED CASE(S)
      IF ANY          (See instructions):
                                          JUDGE  Jorge A. Solis                        DOCKET NUMBER 3:13-cv-00705-P
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
July 3, 2015                                                            /s/ James A. McCorquodale
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                              MAG. JUDGE

                 Print                               Save As...                                                                                                                      Reset
